          Case 2:13-cv-04066-PBT Document 144 Filed 01/12/16 Page 1 of 3



                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA



          J.C
                     Plaintiff                          Civil Action

             v.                                         No. 13-4066

      Ford, et al
                     Defendants


                PLAINTIFF'S MOTION TO STRIKE/ SEAL/REDACT


    Plaintiff didn't initially catch it (probably because it was a 73 pg blizzard), but that in

disgraceful July 14th, 2014 gift, has more of your deplorable actions in it. After a current

review Plaintiff has realized that you in fact tried to sneak in asserting prior scandalous,

impertinent, immaterial, erroneous material and statements on page 12, lines 4-6. First, off no,

there was no "determination" of anything of the sorts, other than they claim that the probation

office/officer recommended "community service". What they claim does not match fact as usual.

Moreover, Hippa and also the state version of it has been violated. Both apply to truthful or false,

partially true of false, alleged negative or positive health related information. And we also know

it has no bearing on anything here for numerous different reasons including the fact that Plaintiff,

who was never lawfully on probation to begin with, never agreed to having his rights violated a

thousand times while on that illegal probation, including bogus bench warrants, illegal searches,

no due process and scores of other retaliatory acts over a two year period.

   Further, presentence reports, whether accurate or in accurate, whether completely false,

misleading, or incomplete, or not however, are not considered judicial records in the criminal
            Case 2:13-cv-04066-PBT Document 144 Filed 01/12/16 Page 2 of 3



 cases 1 where they really come from or supposedly. Either way you look at it, Plaintiff has both

 federal and state privacy interests here. Malleus v. George, 641F.3d560, 565 (3d Cir. 2011).



                                          CONCLUSION

       That portion of the gift you call a filing gets struck, redacted or then sealed. If this motion

does not get granted there is going to be a separate suit down the line just for this, not including

anything else. Absent that, this is game and one that can be played by more than one person, and

Plaintiff does not think we want to go down this alley.



                                                                                      J.C. Plaintiff
                                                                                      Box 934
                                                                                      Philadelphia, PA 19105



    Dated: January 6th 2015




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  In re Siler, 571 F.3d 604, 610 (6th Cir. 2009) (presentence reports are not court document instead confidential
reports.) United States v. Martinello, 556 F.2d 1215, 1216 (5th Cir.1977) (are not court documents, and are handled
and marked as "confidential reports); McKnight, 771F.2d388, 391 (8th Cir. 1985) (not court documents but
confidential reports); U.S. v. Charmer Indus., 711 F.2d 1164, 1171 (2d Cir.1983)( "Presentence reports are not
public records but rather confidential reports"); United States v. Corbitt, 879 F.2d 224, 239 (7th Cir.1989)




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                    Plaintiff                          Civil Action

            v.                                         No. 13-4066

     Ford, et al
                          Defendant


                                CERTIFICATE OF SERVICE

       I do hereby certify that service of a true and correct copy of reply to

July 14th Filing and Motion To Strike/ Redact has been served upon the following by First Class

mail and available via ECF


Criminal Boy le
620 Freedom Business Center, Suite 300
King Of Prussia, PA 19406


                                                                          J.C. Plaintiff
                                                                          Box 934
                                                                          Philadelphia, PA 19105



 Dated: January 9th 2015
